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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   )
SPRINT COMMUNICATIONS COMPANY L.P.,
                                                   )
                                                   )
                     Plaintiff,
                                                   )
                                                   )   C.A. No. 17-1734-RGA
              v.
                                                   )
                                                   )   JURY TRIAL DEMANDED
CHARTER COMMUNICATIONS, INC., et al.,
                                                   )
                                                   )
                     Defendants.
                                                   )

              PLAINTIFF SPRINT COMMUNICATIONS COMPANY L.P.’S
              NOTICE OF THIRD-PARTY SUBPOENA TO PAUL WOELK

       Please take notice that, pursuant to Fed. R. Civ. P. 45, Plaintiff Sprint Communications

Company L.P. will serve the attached subpoena on Paul Woelk.


                                                /s/ R. Montgomery Donaldson
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Dated: August 27, 2019




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